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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

                                                             )
DAVID LITTLEFIELD, MICHELLE LITTLEFIELD,                     )
TRACY ACORD, DEBORAH CANARY, FRANCIS                         )
CANARY, JR., VERONICA CASEY, PATRICIA                        )
COLBERT, VIVIAN COURCY, WILL COURCY,                         )
DONNA DeFARIA, ANTONIO DeFARIA, KIM                          )
DORSEY, KELLY DORSEY, FRANCIS LAGACE,                        )
JILL LAGACE, DAVID LEWRY, KATHLEEN LEWRY,                    )
MICHELE LEWRY, RICHARD LEWRY, ROBERT                         )
LINCOLN, CHRISTINA McMAHON, CAROL                            )      Civil Action No.
MURPHY, DOROTHY PEIRCE, DAVID PURDY                          )      1:16-CV-10184-ADB
and LOUISE SILVA,                                            )
                  Plaintiffs,                                )
            v.                                               )
                                                             )
UNITED STATES DEPARTMENT OF THE INTERIOR,                    )
1849 C Street, N.W., Washington DC 20240, SALLY              )
JEWELL, in her official capacity as Secretary, U.S.          )
Department of the Interior, 1849 C Street, N.W.,             )
Washington, DC 20240, BUREAU OF INDIAN                       )
AFFAIRS, U.S. Department of the Interior, 1849 C Street,     )
N.W., Washington, DC 20240, LAWRENCE ROBERTS,                )
in his official capacity as Acting Assistant Secretary -     )
Indian Affairs, U.S. Department of the Interior, 1849 C      )
Street, N.W., Washington, DC 20240, UNITED STATES            )
OF AMERICA.                                                  )
                        Defendants.                          )
                                                             )

    THE MASHPEE WAMPANOAG INDIAN TRIBE’S MOTION TO INTERVENE

       The Mashpee Wampanoag Indian Tribe ("the Tribe" or "the Mashpee") respectfully

moves this Court for an order granting its intervention as a defendant in the above-captioned case

under Federal Rules of Civil Procedure 24(a) or 24(b). The Tribe seeks to intervene in order to:

1) participate in any motion practice remaining in the District Court; and 2) appeal the Court's

July 28, 2016 Memorandum and Order ("the Order"), all of which will profoundly affect the

Tribe's rights. Memorandum & Order, Jul. 28, 2016 (Dkt. No. 87), at 22. The Department of the
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Interior assets to the Tribe's intervention on a permissive basis under Rule 24(b).

       In support of this motion, the Tribe submits the accompanying memorandum of law and

the Affidavit of Cedric Cromwell, Chairman of the Tribe and President of the Mashpee

Wampanoag Gaming Authority.

                                      Respectfully submitted,
                                      MASHPEE WAMPANOAG INDIAN TRIBE,
                                      By its attorneys,

                                      /s/ Benjamin J. Wish
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                                      (202) 237-0933
                                      Admission pro hac vice pending

   Dated: August 15, 2016


                          Certificate Pursuant to Local Rule 7.1(A)(2)

         I, Benjamin J. Wish, hereby certify that on behalf of prospective intervenor the Mashpee
Wampanoag Indian Tribe and in accordance with Rule 7.1(A)(2) counsel for the Tribe has
conferred with counsel for the plaintiffs and defendant in the above-captioned matter in a good
faith attempt to narrow or resolve the issues raised by this motion. The Department of the
Interior assents to permissive intervention of the Tribe, but not to intervention as of right.
Plaintiffs oppose this motion.

                                      /s/ Benjamin J. Wish
                                      Benjamin J. Wish


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                                      Certificate of Service

        I, Benjamin J. Wish, hereby certify that this document has been filed through the ECF
system and will be sent electronically to the registered participants as identified on the Notice of
Electronic Filing (NEF) and paper copies will be sent to those indicated as non-registered
participants on August 15, 2016.

                                                      /s/ Benjamin J. Wish
                                                     Benjamin J. Wish




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